                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                                   5:05cr35


UNITED STATES OF AMERICA        )
                                )
           vs.                  )
                                )                              ORDER
KENNETH L. FOX - 1              )
WILLLIAM RONALD HASH - 2        )
_______________________________ )



       THIS MATTER is before the Court on government’s motion to preemptively set this

case for trial. The motion further states the parties are in agreement as to this request.

       IT IS, THEREFORE, ORDERED that this matter is preemptively set and scheduled

for the 9 January 2006 term in the Statesville Division. Jury selection will begin on 10

January 2006.




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                    Signed: July 13, 2005




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